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                         IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATBS OF AMERICA

       v,                                                          CRIMTNAL NO. 19-417

JUSTIN DAVID MAY



                                PRETRIAL DETENTION ORDER

                 AND NOW,     this        day   of                  , 2019, after an evidentiary

hearing and argument of counsel for the government and the defendant, the Court finds that:

                  (a) the government has proved by a preponderance of the evidence that no

                      condition or combination of conditions will reasonably assure the appearance

                      ofthe defendant   as required.

                  (b) the government has proved by clear and convincing evidence that no

                      condition or combination of conditions will reasonably assure the safety      of

                      other persons and the community, as required by   Title 18, United   States

                      Code, Section 3142(e).

                 The Court makes the following findings of fact:

                 This case is appropriate for detention under Title 18, United States Code, Section

3142(e) because

                 1.     There is probable cause to believe that the defendant has violated 18

u.s.c. $ 1341.

                 2.     The evidence in this case is strong and consists of bank records, shipping

records, eBay records, anticipated witness testimony, and other physical evidence.
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                 3.    The maximum sentence for each violation of 18 U.S.C. $ 1341 (mail

fraud) as charged in the indictment is 20 years imprisonment, a three-year period of supervised

release, a $250,000 fine, and a $100 special assessment. Therefore, the defendant faces a total

statutory maximum of 440 years' imprisonment, a three-year period of supervised release, a

$5,500,000 fine, and a$2,200 special assessment. The potential guidelines range the defendant

now faces based on the conduct charged in this case, coupled with the charges to which the

defendant has already pled guilty in CR 18-026, is 97 to 121 months' incarceration.

Accordingly, the defendant has a substantial incentive to flee.

                 4.    The strength and nature of the case against the defendant, combined with

the strong likelihood that the defendant will be incarcerated for a significant period of time,

increases the high risk that the defendant   will not   appear as required by the Court.

                 5.    The defendant has demonstrated an inability to comply with release

conditions has he has been charged with engaging in new criminal conduct while on pretrial

release in   CR l8-O26,and   appears to have violated his travel restrictions in that case on

approximately nine separate occasions.

                 6.    The defendant also has a criminal history that includes convictions for

making terroristic threats and engaging in violence.




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               Therefore, IT IS ORDERED that the defendant be committed to the custody         of

the Attorney General for confinement in a correction facility separate, to the extent practicable,

from persons awaiting or serving sentences or being held in custody pending appeal; that the

defendant be afforded reasonable opportunity for private consultation with counsel; and that, on

order of a Court of the United States, or on request of an attorney for the government, the person

in charge of the corrections facility in which the defendant is confined deliver the defendant to a

United States Marshal for the pu.rpose of an appearance in connection with a court proceeding.


                                              BY THE COURT:




                                              HONORABLE CAROL S. MOORE WELLS
                                              United States Magistrate Judge




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                              IN THE UNITED STATES DISTRICT COURT

                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA

                          v                        : CRIMINAL NO. I9-4I7
JUSTIN DAYID MAY                                   : (FILED UNDER SEAL)


                                        S   MOTION FOR PRETRIAL DE

                   Defendant JUSTIN DAVID MAY is an habitual fraudster with no respect for the

law,   a   proven inability to both follow court orders and refrain from committing fraud, and a

history of violent outbursts. He has been indicted again for fraud    -   the same exact type of fraud

he has already pled guilty to    -   and committed this new fraud while pending sentencing in the

other case. Specifically, after pleading guilty on September 6, 2018 in case CR 18-026 to 20

counts of mail fraud, l0 counts of money laundering, three counts of interstate transportation      of

stolen goods, and two counts of tax evasion for orchestrating schemes to defraud Cisco Systems

and Microsoft millions of dollars worth of computer hardware (that defendant         MAY then sold at

a discount),    United States District Judge Joel H. Slomsky allowed defendant MAY to remain free

on bond pending sentencing. (Of course, the terms of defendant MAY's bond require that he

refrain from committing any other crimes, and also restrict his travel between the Eastern District

of Pennsylvania and the District of Delaware unless he receives prior approval from pretrial

services.) Defendant MAY's cooperation plea agreement with the government also requires that

he not commit any additional crimes as such conduct would constitute a breach. Despite these

significant incentives to refrain from committing new crimes and to follow his release

conditions, defendant MAY has been supporting himself not with a legitimate job, but rather
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through the commission of virtually identical fraud against two new companies, Lenovo and

APC, as charged in the new indictment in this case. This new fraud led to the charges in this

case, and on July   22,2019, United States District Judge Chad F. Kenney signed an order

directing that defendant MAY be detained pending a violation hearing before Judge Slomsky.

               In addition to violating his release conditions by engaging in new criminal

conduct, defendant MAY also has on at least 9 occasions violated his travel restrictions by

traveling to New York, New Jersey, Maryland, and Virginia without first receiving prior

approval from pretrial services. Clearly, defendant MAY has proven himself to be unable and

unwilling to comply with court orders.

               Moreover, given the new charges, defendant MAY has a strong incentive to flee

to avoid incarceration. In this new case, defendant MAY is facing an advisory guideline range of

41 to 51 months' incarceration. Further, in the case in which he has already pled guilty,

defendant MAY will be facing a potential total offense level     of 2g,Criminal History   Category II,

for a sentencing range of 97 to   l2l   months' incarceration, and will not be receiving any Section

5K1.1 motion (the government will be arguing that he does not gain -3 for acceptance of

responsibility due to his commission of new crimes).

                Not only do the additional charges coupled with MAY's travel restriction

violations prove him to be a flight risk, but defendant MAY's past conduct has shown him to be

a danger to the community as   well. In fact, a few months after pleading guilty in CR 18-026,

defendant MAY pled guilty on November 7,2018 in the New Castle County Court of Common

Pleas to terroristic threats based on his verbal altercation with the manager of a Toyota

dealership. In a recorded call, defendant MAY threatened the manager that he would "beat your




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f*xking   ass   with   a   tire wrench that's in the fx*king trunk." The defendant was sentenced to six

months of probation in that case. In a similar incident in2012, the defendant was convicted            of

criminal mischief and disorderly conduct in the New Castle County Court of Common Pleas

based on his getting into a       fight at the New Castle Public Library during which defendant MAY

told a library patron to go "f**ft himself'and then struck the patron with a computer keyboard

after the patron asked defendant MAY to get off of his cell phone because he was speaking

loudly in the library. Defendant MAY has also engaged in similar verbally abusive conduct with

UPS Store employees, who report that they remember defendant MAY very well because he

frequently yells and curses at them if they do not wait on him quickly enough. Defendant MAY

also was involuntarily committed for approximately one week in 2011 due to threats to hurt

himself and his mother.

                  Because defendant       MAY   has proven to be unable to   follow Court orders and

refrain from committing crimes while on pretrial release, he is a proven flight risk. Because he

has a proven history ofengaging in threats ofviolence and actual violence, he is a proven danger

to the community. Because no condition or combination of conditions will reasonably assure the

defendant's appearance as required and/or the safety of the community, the government moves

pursuant to 18 U.S.C. $$ 3142(e) and (f) for a detention hearing and pretrial detention of the

defendant.

I.     THE FACTS

                  In support of this motion, the government makes the following representations

and proposed findings of fact:




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        A.     Probable Cause And The Indictment

               There is probable cause to believe that the defendant has committed mail fraud, as

charged in the indictment filed in this case on July 18,2019. The grand   jury in this case charged

that the defendant engaged in what is referred to as "warranty fraud," and after obtaining the

serial numbers for legitimate products sold by Lenovo and APC, defendant MAY lied to those

companies, posed as someone else, claimed he owned broken products that were covered by their

warranties, and induced Lenova and APC to ship "replacement" products to him with a promise

that he would return the "broken" product. As charged by the grand jury, defendant MAY never

owned the "broken" product in question, never returned any products to Lenovo or APC, and

instead sold the "replacement" product they shipped him through his eBay account.

               A review of the indictment in CR 18-026 reveals that this is the precise type of

fraud that defendant MAY committed against Cisco Systems and Microsoft that led to his

indictment and pleas of guilty in that case. Yet rather than obtaining a legitimate job while

pending sentencing, defendant MAY apparently did exactly what he did in the first case except

with new victim companies.

               The evidence in this case consists of records showing defendant MAY's ordering

of the items in question, shipping records showing the shipment to addresses tied to defendant

MAY (including his home address)    and to UPS stores frequented.by defendant    MAY, the

testimony of UPS store employees who have identified defendant MAY as the person who

picked up the fraudulently-obtained items, eBay records showing the items were sold through

defendant MAY's eBay seller account, and PayPal and bank records showing that the proceeds

from the sale of the items were deposited into defendant MAY's bank account. In addition, when



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he was arrested on July 22,2019, defendant            MAY made statements blaming the agents in this

case   for failing to get him   a legitimate   job.

         B.      Maximum Penalties and Likely Guideline Ranse

                 The maximum sentence for each violation of 18 U.S.C. S 1341 (mail fraud) as

charged in the indictment is 20 years imprisonment, a three-year period of supervised release, a

$250,000 fine, and a $100 special assessment. Therefore, defendant MAY faces a total statutory

maximum of 440 years' imprisonment, athree-year period of supervised release, a $5,500,000

fine, and a$2,200 special assessment.

                 Defendant MAY's likely sentencing guidelines calculation on the instant case is

the following:

                 Base Offense Level ($$        2B1.1(a);2S1.l(aXl)):                     7

                 More than $150,000 intended loss but
                   Less than $250,000 ($ 2B1.1(b)(t))(F)):                          + l0

                 Sophisticated Means ($        2B1.1(b)(10)(C)):                   +     2

                 Total Offense    Level:                                               19


                 Likely Guideline Range: 33 4l months (at Criminal History Category II).

                 Moreover, by his conduct of engaging in additional fraud while on pretrial release

and while ostensibly cooperating with the government, defendant          MAY is now in breach of the

plea agreement he signed and will not be receiving any Section 5K1.1 motion. Further, the

government is no longer bound by any sentencing stipulations in that agreement. Currently, the

probation office has estimated that defendant MAY is facing the following advisory guideline

range in CR 18-026 based on intended loss figures of $3,449,509:

                 Base Offense Level ($$        2B1.1(a);2S1.1(a)(1)):                7



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                   More than $1,500,000 intended loss but
                     Less than $3,500,000 ($ 2B1.1(b)(1))(I)):             +   16


                   Sophisticated Means ($   2B1.1(b)(10)(C)):                       +   2

                   Registering False Domain Name ($    3C1.4)                       +   2

                   Total Offense   Level:                                            27

                   Likely Guideline Range: 78 to 97 months (at Criminal History Category II).

                   If defendant MAY's new fraud (intended    loss of $154,400) is added to and

aggregated with the old fraud to which he pled guilty,     it would raise the fraud loss to over

$3,500,000, which would increase the defendant's total offense level to 2g,yielding a sentencing

range of 97   to   121 months'incarceration.

        C.         Criminal Record and Violation of Pretrial Release Conditions

                   Defendant MAY was convicted on December 3,2012, of criminal mischief and

disorderly conduct by fighting in the New Castle County Court of Common Pleas, and was

sentenced to 30 days' confinement (suspended). As stated above, this stemmed from an

altercation in the library during which defendant MAY cursed at and then assaulted a library

patron who asked him to stop talking on his cellular phone. Defendant MAY was also convicted

on November 7,2018 (while on pretrial supervision in his federal case and after his pleas            of
guilty in the federal case on September 6,2018) in the New Castle County Court of Common

Pleas of terroristic threats. As stated above, defendant   MAY threatened      a manager    of   a car

dealership with violence.

                   Defendant MAY's criminal record also includes a June g,20lg incident in

Delaware in which he was stopped by the police for driving with a suspended license and expired




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tags, a 2012 case from New York involving petit larceny and criminal possession of stolen

property that shows no reported disposition, and a 2010 case from Boston for larceny and

receiving stolen property that was ultimately dismissed.

               Defendant MAY's inability to follow rules is also reflected in the at least 9

incidents that we can prove he violated his pretrial release terms in CR 18-026 by travelling to

states other than Pennsylvania (EDPA) and Delaware without getting        prior approval form his

pretrial services officer. For example, on July 16, 2019, defendant MAY received a speeding

ticket in New Jersey, despite having never requested prior approval from his pretrial services

officer. When questioned by his pretrial services officer about this, defendant MAY claimed that

he made a wrong turn and ended up in New Jersey. Defendant       MAY's bank records show that he

made debit card purchases in New York, New Jersey, Maryland, and Virginia, on the following

dates, and his pretrial services officer has confirmed that he never asked for permission to travel

outside of EDPA or Delaware on these dates:

               l.      1ll30ll8 - Brooklyn, NY

               2.      I2l03ll8 - Brooklyn NY, Ridgefield NJ

               3.      l2l05ll8 -   East Brunswick NJ, Cherry   Hill NJ

               4.      l2ll4l18 - Milltown NJ, Brooklyn NY,     Staten Island   NY

               5.      0ll09ll9 - Baltimore MD, Leesburg VA

               6.      0lll0ll9 -   Owings Mills MD

               7.      0lll7ll9 -   Richmond VA. Midlothian VA

               8.      02ll7lI9 - Baltimore MD.




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                  Clearly, defendant MAY has been doing as he pleases while on pretrial release,

driving up and down the east coast, without requesting permission to do so. His criminal history

and his record of non-compliance while on pretrial release prove him to be a flight risk.

          C.     Danger

                 Defendant MAY has also proven himself to be a danger to the community. As his

criminal record reflects, he has two convictions for using violence or threatening to use violence.

He has a clear anger management problem. The evidence in this case        will show that defendant

MAY yells and curses at UPS employees if they do not wait on him fast enough. His actions in

engaging in new criminal conduct while on release, coupled with his past violations of his

release conditions and history of making threats and using violence reflects that he remains a

danger to society.

         D.      Lack of Emplovment

                 Defendant MAY has refused to obtain a legitimate job the entire time he has bene

on pretrial release. Instead, he supported himself by fraud. Apparently, he has not even told his

parents about the charges in the other case or his pleas of guilty. He has no way of paying his

rent because he refuses to work.

II.      CONCLUSION

                 When all these factors are viewed in light of the substantial sentence defendant

faces   if convicted, it is clear that no condition or combination of conditions will reasonably

assure the presence of the defendant as required and/or the safety of the community.




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               WHEREFORE, the government respectfully submits that its Motion for

Defendant's Pretrial Detention should be granted.

                                             Respectfully submitted,

                                             WILLIAM M. McSWAIN
                                             United States Attorney




                                            MICHAEL
                                            Assistant United States Attorney




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                                    CERTIFICATE OF SERVICE

              I certify that   a copy   of the Government's Motion for Pretrial Detention, and

Proposed Order was served by email on

                                          Natasha Taylor-Smith
                                 Federal Community Defender Office
                                          601 Walnut Street
                                              Suite 540 West
                                         Philadelphia, PA 19106
                                   Natasha_Taylor- S mith@fd. org




                                                 lsl
                                                 MICHAEL     S. LOWE
                                                 Assistant United States Attomey


Date:   July 23,2016




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